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10
     Attorneys for Plaintiff
11
     NEXA Mortgage, LLC
12
13                              UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ARIZONA
14
15   NEXA MORTGAGE, LLC, an Arizona                  Case No. 2:23-cv-00410-SPL
     limited liability company,
16                                                   NOTICE OF WITHDRAWAL OF
                                                     ATTORNEY
17                        Plaintiff,
     v.
18
     SMART MORTGAGE CENTERS, INC., an
19
     Illinois for-profit corporation; and WILTON
20   A. PERSON,
21                        Defendants.
22
23
            Pursuant to L.R.Civ. 83.3(b) of the Local Rules of Civil Procedure, the undersigned
24
     counsel respectfully requests permission to withdraw as attorney of record for Plaintiff NEXA
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     Mortgage, LLC in the instant action. In accordance with L.R.Civ. 83.3(b), NEXA will continue
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     to be represented by Ari Karen, another attorney from the same law firm, Mitchell Sandler LLC,


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 1   who has been admitted pro hac vice in this matter (see July 7, 2023 Text Entry). Plaintiff will
 2   also continue to be represented by the law firm Tiffany & Bosco, P.A.
 3          The reason for the request is that the undersigned attorney is leaving the employ of
 4   Mitchell Sandler LLC. Another associate from the firm will be filing a pro hac vice application
 5   shortly.
 6          Dated August 7, 2023.
 7                                                   Respectfully Submitted,
 8
                                                     MITCHELL SANDLER, LLC
 9
                                                     /s/ Sharon Samuel Ourien
10                                                      Sharon Samuel Ourien
                                                        Admitted pro hac vice
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 1                                   CERTIFICATE OF SERVICE

 2         On August 7, 2023, I served a true copy of the foregoing upon all counsel of record, by filing

 3   the same with Court’s CM/ECF system.
 4                                                      /s/ Sharon Samuel Ourien
 5                                                         Sharon Samuel Ourien

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